               Case 2:20-cv-01529-BJR Document 20 Filed 03/15/21 Page 1 of 3




 1                                                                The Honorable Barbara J. Rothstein

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 7
                                  UNITED STATES DISTRICT COURT
 8                               WESTERN DISTRICT OF WASHINGTON

 9     AMANDA SCHICK,
                                                         NO. 2:20-cv-01529-BJR
10                              Plaintiff,
                                                         PRAECIPE TO ATTACH DOCUMENT
11             vs.

12     STUDENT LOAN SOLUTIONS, LLC,

13                              Defendant.

14
             TO THE CLERK OF THE ABOVE-ENTITLED COURT:
15
             You will please:
16
             Attach the signature page, included with this Praecipe to Attach Document, to the
17
     Declaration of Amanda Schick, filed on March 11, 2021 as Dkt. #19-1. Plaintiff inadvertently
18
     failed to include the date and place of signing in the original filing. No other changes were made
19
     to the declaration or its exhibits.
20

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     //
     PRACECIPE TO ATTACH DOCUMENT - 1                                         ANDERSON | SANTIAGO
     2:20-CV-01529-BJR                                                                 787 MAYNARD AVE S
                                                                                         SEATTLE WA 98104
                                                                            (206) 395-2665/F (206) 395-2719
              Case 2:20-cv-01529-BJR Document 20 Filed 03/15/21 Page 2 of 3




 1         Dated this 15th day of March, 2021.

 2

 3
                                                 ANDERSON SANTIAGO, PLLC
 4                                               By: /s/ T. Tyler Santiago
                                                 Jason D. Anderson, WSBA No. 38014
 5                                               T. Tyler Santiago, WSBA No. 46004
                                                 Attorneys for Plaintiff
 6                                               787 Maynard Ave. S.
                                                 Seattle, WA 98104
 7                                               (206) 395-2665
                                                 (206) 395-2719 (fax)
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     PRACECIPE TO ATTACH DOCUMENT - 2                                    ANDERSON | SANTIAGO
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                                                                       (206) 395-2665/F (206) 395-2719
               Case 2:20-cv-01529-BJR Document 20 Filed 03/15/21 Page 3 of 3




 1                                          Certificate of Service

 2          I hereby certify that on this date, I electronically filed the foregoing with the Clerk of the
     Court using the CM/ECF system which will send notification of such filing to the following:
 3
     Michael Shannon O’Meara
 4   The O’Meara Law Office, PS
     1602 Virginia Avenue
 5   Everett, WA 98201-1704
     (425) 263-1732
 6   michael@omearalawoffice.com

 7                                                  /s/ T. Tyler Santiago
                                                    T. Tyler Santiago
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     PRACECIPE TO ATTACH DOCUMENT - 3                                            ANDERSON | SANTIAGO
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